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 1                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT
 2

 3
                                                      )
 4
     JOSEPH TANCREDI,                                 )
               Plaintiff                              )       Case No.:
 5                                                    )
     v                                                )
 6                                                    )       COMPLAINT AND DEMAND FOR
     ALLIED INTERSTATE, INC.,                         )       JURY TRIAL
 7             Defendant                              )
                                                      )       (Unlawful Debt Collection Practices)
 8                                                    )
 9
                                                COMPLAINT
10

11
             JOSEPH TANCREDI (“Plaintiff”), by and through his attorney, ANGELA K.

12   TROCCOLI, ESQUIRE and Kimmel & Silverman, P.C., allege the following against ALLIED

13   INTERSTATE, INC. (“Defendant”):

14

15                                           INTRODUCTION
16
             1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
17
     U.S.C. §1692 et seq. (“FDCPA”).
18

19
                                      JURISDICTION AND VENUE
20
             2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
21
     that such actions may be brought and heard before “any appropriate United States district court
22
     without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
23

24   jurisdiction of all civil actions arising under the laws of the United States.

25           3.      Defendant conducts business in the State of Connecticut and therefore, personal

     jurisdiction is established.
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 1          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).
 2          5.      Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.
 3

 4

 5
                                                  PARTIES
 6
            6.      Plaintiff is a natural person residing in Salem, Connecticut at the time of the
 7
     alleged harassment.
 8
            7.      Plaintiff is a “consumer” as that term is defined in 15 U.S.C. §1692a(3).
 9
            8.      Defendant is a national debt collection company with corporate headquarters
10

11   located at 335 Madison Avenue, 27th Floor, New York, New York 10017.

12          9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. §1692a(6),

13   and sought to collect a consumer debt from Plaintiff.

14          10.     Defendant acted through its agents, employees, officers, members, directors,
15   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
16

17
                                       FACTUAL ALLEGATIONS
18
            11.     At all relevant times, Defendant was attempting to collect an alleged consumer
19
     debt from Plaintiff, originating from a student loan owed to Sallie Mae.
20
            12.     The alleged debt at issue arose out of transactions, which were primarily for
21
     personal, family, or household purposes.
22

23
            13.     Plaintiff is employed by a company in the United Kingdom.

24          14.     In June 2011, Plaintiff contacted Sallie Mae and provided Sallie Mae with his

25   bank account information for a bank in the United Kingdom in order to make monthly student


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 1   loan payments.
 2           15.       Sallie Mae never withdrew any student loan payments from his bank account in
 3
     the United Kingdom.
 4
             16.       Then, in or around November 2011, Defendant began contacting Plaintiff seeking
 5
     and demanding payment of an alleged consumer debt owed to Sallie Mae.
 6
             17.       Plaintiff regularly received collection calls from the following telephone number:
 7
     (866) 427-0436, which the undersigned has confirmed is a telephone number belonging to
 8
     Defendant.
 9
             18.       Defendant contacted Plaintiff, on average, two (2) times a day, in its attempts to
10

11   collect a debt.

12           19.       Defendant claimed to Plaintiff that he defaulted on his student loan because there

13   had been no payments on his accounts and that Sallie Mae was unable to accept payment from a

14   non-U.S. bank account.
15           20.       While Plaintiff was in the process of opening a U.S. bank account, on or about
16
     November 23, 2011, Defendant contacted his parents regarding the alleged debt, as his father
17
     was a co-signer on the student loan.
18
             21.       Defendant claimed to Plaintiff’s mother that Plaintiff owed $9,000.00 to Sallie
19
     Mae.
20
             22.       Defendant threatened Plaintiff’s mother that legal action would be taken if the
21
     alleged debt was not paid.
22

23
             23.       Plaintiff’s mother contacted Plaintiff and provided him with the phone number

24   that she had received from Defendant; however, when Plaintiff called the number, he got a

25   voicemail for an individual, but the voicemail message did not identify the name of the company


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 1   where the individual was employed.
 2          24.     Not wanting to leave a voicemail message, on November 30, 2011, Plaintiff sent
 3
     Defendant an email, providing his home contact information.
 4
            25.     Thereafter, on that same day, Plaintiff received a telephone call from an
 5
     employee of Defendant, who identified himself to Plaintiff as “Nazir,” at his place of
 6
     employment.
 7
            26.     “Nazir” deceptively claimed to Plaintiff that he had received a missed call from
 8
     this number (Plaintiff’s work phone number), which was an untrue statement, as Plaintiff never
 9
     contacted Defendant from his place of employment or provided Defendant with his work
10

11   number.

12          27.     When Plaintiff asked “Nazir” how Defendant got his work telephone number,

13   “Nazir” claimed that, “he confirmed [his] employment.”

14          28.     Plaintiff informed “Nazir” that he would speak with him when he got home from
15   work; however, “Nazir” continued to communicate with Plaintiff at his place of employment,
16
     despite knowing that Plaintiff did not want to discuss a debt matter at his place of employment.
17
            29.     “Nazir” claimed that Plaintiff had to pay the debt in full, which was now
18
     approximately $17,000.00.
19
            30.     Plaintiff informed “Nazir” that he could only make payments.
20
            31.     “Nazir” claimed that Plaintiff “defrauded Sallie Mae” and “that [he] ran away.”
21
            32.     Plaintiff asked “Nazir” to apologize for making such false accusations.
22

23
            33.     Further, Plaintiff told “Nazir” that he did try making payments, but that Sallie

24   Mae never took payment.

25          34.     “Nazir” told Plaintiff that he (Nazir) was not going to go over the past and


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 1   demanded that Plaintiff make payment on the debt.
 2          35.    “Nazir” also claimed that legal action would be commenced if Plaintiff did not
 3
     make payment on the alleged debt.
 4
            36.    Plaintiff asked “Nazir” to apologize for his inflammatory remark and stated that
 5
     he hoped “the call was being recorded.”
 6
            37.    “Nazir” stated, “I am done with you” and hung up.
 7
            38.    Most recently, Defendant contacted Plaintiff on December 7, 2011, seeking and
 8
     demanding payment of a consumer debt.
 9
            39.    Defendant’s actions as described herein were taken with the intent to harass,
10

11   abuse, upset and coerce payment from Plaintiff.

12
                                               COUNT I
13
         DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
14
            40.    In its actions to collect a disputed debt, Defendant violated the FDCPA in one or
15
     more of the following ways:
16

17                  a. Defendant violated §1692c(a)(1) of the FDCPA by communicating with

18                     Plaintiff at a place known or which should be known to be inconvenient to

19                     Plaintiff, specifically communicating with Plaintiff at his place of

20                     employment when Defendant knew that Plaintiff was unable to receive
21                     communications about personal debts at work.
22
                    b. Defendant violated §1692d of the FDCPA by harassing Plaintiff in
23
                       connection with the collection of an alleged debt;
24
                    c. Defendant violated §1692e of the FDCPA by using false, deceptive, or
25
                       misleading representations or means in connection with the collection of a

                                                       5
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 1                      debt;
 2                  d. Defendant violated §1692e(2)(A) of the FDCPA by misrepresenting the
 3
                        character, amount or legal status of the debt in connection with the collection
 4
                        of the alleged debt;
 5
                    e. Defendant violated §1692e(5) of the FDCPA by threatening to take an action
 6
                        that cannot legally be taken or that was not intended to be taken;
 7
                    f. Defendant violated §1692e(7) of the FDCPA by falsely representing or
 8
                        implicating that Plaintiff committed a crime or other conduct in order to
 9
                        disgrace the consumer;
10

11                  g. Defendant violated §1692e(10) of the FDCPA by using false representations

12                      or deceptive means to collect or attempt to collect a debt; and

13                  h. Defendant violated §1692f of the FDCPA by using unfair and unconscionable

14                      means with Plaintiff to collect or attempt to collect a debt; and
15                  i. By acting in an otherwise deceptive, unfair and unconscionable manner and
16
                        failing to comply with the FDCPA.
17

18
                                               PRAYER FOR RELIEF
19

20      WHEREFORE, Plaintiff, JOSEPH TANCREDI, respectfully prays for a judgment as
21   follows:
22
                   a.      All actual compensatory damages suffered pursuant to 15 U.S.C.
23
                           §1692k(a)(1);
24
                   b.      Statutory damages of $1,000.00 for the violation of the FDCPA pursuant
25
                           to 15 U.S.C. §1692k(a)(2)(A);


                                                      6
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 1                   c.     All reasonable attorneys’ fees, witness fees, court costs and other litigation
 2                          costs incurred by Plaintiff pursuant to 15 U.S.C. §1693k(a)(3); and
 3                   d.     Any other relief deemed appropriate by this Honorable Court.
 4

 5

 6
                                     DEMAND FOR JURY TRIAL
 7
             PLEASE TAKE NOTICE that Plaintiff, JOSEPH TANCREDI, demands a jury trial in
 8
     this case.
 9

10
                                                   RESPECTFULLY SUBMITTED,
11
                                                   JOSEPH TANCREDI,
12
                                                   By his Attorney,
13

14                                                 /s/ Angela K. Troccoli
                                                   Angela K. Troccoli, Esquire, Id# ct28597
15                                                 Kimmel & Silverman, PC
                                                   The New England Office
16                                                 136 Main Street, Suite 301
                                                   Danielson, CT 06239
17                                                 (860) 866-4380- direct dial
                                                   (860) 263-0919- facsimile
18                                                 atroccoli@creditlaw.com
19

20

21   Dated: March 2, 2012

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23

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